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                              Case No. 1:25-cv-11048-ADB


               IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MASSACHUSETTS



            PRESIDENT AND FELLOWS OF HARVARD COLLEGE,

                                      Plaintiff,

                                           v.
                 UNITED STATES DEPARTMENT OF HEALTH
                      AND HUMAN SERVICES, et al.,
                                     Defendants.




BRIEF OF AMICUS CURIAE COLUMBIA ALUMNI FOR ACADEMIC FREEDOM
                  (Leave to file granted on June 6, 2025)




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                                 STATEMENT OF INTEREST
       Amicus Columbia Alumni for Academic Freedom (CAAF) was created in March 2025 in

response to the Trump Administration’s arbitrary and vindictive actions against our Alma Mater.

Those actions—including sudden, massive terminations of funding vital to the University’s

research mission, as well as attempts to commandeer central parts of the University’s

administrative and academic life—closely resemble the actions taken against Harvard at issue in

this case. As CAAF’s inaugural Statement explained, such “extortive” actions “represent a grave

threat to … the academic freedom and free inquiry that are the bedrock of universities in free

societies.”1 “Rewarding such extortion,” the Statement warned, would “only embolden” the

Administration to “further encroach on academic freedom.”

       Founded in 1754, King’s College changed its name to Columbia in 1784 to reflect its

support for the new republic. Before tackling the Federalist Papers, King’s College dropout

Alexander Hamilton and alumnus John Jay wrote Columbia’s charter. George Washington,

honoring alumni who had fought in the Revolutionary War, attended the 1789 commencement.

Columbia University alumni include Presidents Teddy Roosevelt, Franklin Delano Roosevelt

and Barack Obama; artists Richard Rodgers and Allen Ginsberg; Justices Ruth Bader Ginsburg

and Neil Gorsuch; Attorneys General William Barr and Eric Holder; politicians Shirley

Chisholm and Pat Buchanan; and authors Isaac Asimov and Jhumpa Lahiri. Columbia has helped

educate thousands of teachers, engineers, scientists, social workers, business leaders, nurses,

doctors, artists, and lawyers, and others who help society thrive and grow. And like other leading

American research universities, Columbia has repaid federal investments many times over by,



1
  Statement on Academic Freedom, https://www.columbiaalumniforacademicfreedom.org/.
Individual members of CAAF who join this brief are listed in the Appendix.


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among other things, producing fundamental research that supports vital advances in the sciences,

technology, and other areas of human understanding. Columbia played a significant role in the

Manhattan Project, and also houses the Nation’s first dedicated Climate School.

       CAAF’s members are committed to helping Columbia survive current threats to its

independence and institutional integrity. Members have a variety of views on recent (and past)

campus protests and on the University’s responses, and all agree that the right of every member

of the University community to live, study, and work free from discrimination or intimidation is

fundamental and enforceable. But CAAF’s members are united in the conviction that nothing

about recent campus events—ones that reflect real fissures in our world and nation—remotely

justifies, nor is the true reason for, the sweeping, indiscriminate, and punitive actions recently

visited upon Columbia and Harvard by the Trump Administration. These actions are in no way

lawful responses to questions about how university administrators handled campus protests, nor

to disagreements with some students’, professors’, or administrators’ political viewpoints.

       The preconditions for a free and prosperous society are at stake here. The Trump

Administration’s disregard of constitutional fundamentals requires the strongest rebuke.

                                       ARGUMENT
 I. The Trump Administration’s Actions Against Harvard Are Part of a Lawless
    Campaign that Has Gravely Harmed Columbia and Other Universities
       The Administration’s actions toward Harvard closely resemble those toward Columbia:

suspending or canceling major federal grants, including for medical and scientific research

studies already well underway, and issuing a series of intrusive demands that the University

change core elements of governance, curricular management, and admissions.

   When President Donald Trump canceled $400 million in funding to Columbia University
   over its handling of student protests against Israel’s war in Gaza, much of the financial pain
   fell on researchers a train ride away from the school’s campus, working on things like curing
   cancer and studying COVID-19’s impact on children. The urgency of salvaging ongoing

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    research projects at the university’s labs and world-renowned medical center was one factor
    in Columbia’s decision last week to bow to the Republican administration’s unprecedented
    demands for changes in university policy as a condition of getting funding restored.2

As at Harvard, these punitive actions were taken summarily, without compliance with statutory

and regulatory procedures, and sanctions such as blocking scientific research grants were wildly

unmoored from the asserted wrongs.

        The Trump Administration’s actions are part of an unprecedented nationwide attack upon

research universities, institutions that top officials deem politically adverse—even as “the

enemy.”3 At Columbia, that has taken the form of governmental demands and threats, efforts to

commandeer management of university functions (including management of academic

departments and admissions), peremptory blocking of federal grant funding that supports

research at the heart of the University’s mission—and, most recently, threats to the University’s

accreditation.4 And as at Harvard, the Administration flagrantly disregarded Title VI’s “elaborate

restrictions” on agency enforcement, Alexander v. Sandoval, 532 U.S. 275, 290 (2001); see 42




2
 Philip Marcelo, Researchers in Limbo as Columbia Bows to Trump’s Demands in Bid to
Restore $400M Federal Funding, ASSOCIATED PRESS (March 26, 2025); U.S. General Services
Admin., DOJ, HHS, ED, and GSA Announce Initial Cancellation of Grants and Contracts to
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3
  JD Vance, The Universities Are the Enemy, https://nationalconservatism.org/natcon-2-
2021/presenters/jd-vance/. Leo Terrell, head of the multi-agency task force leading the Administration’s
campaign, has said: “We’re going to bankrupt these universities.” Quoted in Andy Rose, Timeline
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nyregion/columbia-trump-accreditation-civil-rights.html.
                                                    3
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U.S.C. § 2000d-1; see also 110 Cong. Rec. 6544 (1964) (“The purpose of Title VI is not to cut off

funds but to end discrimination.”) (Sen. Hubert Humphrey).

       The amount of federal funding immediately suspended at Columbia is so large as to

devastate important research and graduate student education programs, to require terminations of

research staff, and to endanger or terminate long-term research projects with large stakes for

human welfare.5 The peremptory suspensions and terminations of grants that Columbia

researchers had been awarded after competitive processes, based upon the qualifications of its

researchers and the quality of its facilities, have already caused enormous harm to Columbia,

serious disruption to thousands of members of the University community, and untold losses to

the public from interference with the research activities.6 These sorts of actions, as well as

graphic examples of the federal government’s directing its power against the University

community (including wholesale blocking of student visas and detentions of students for political

activity) have, predictably, created a climate of fear at Columbia, as similar efforts have on other




5
  REUTERS, Columbia University Lays Off Nearly 180 Researchers Due to Trump Funding Cuts,
(May 6, 2025), https://www.reuters.com/world/us/columbia-university-lays-off-nearly-180-
researchers-due-trump-funding-cuts-2025-05-06/; Joseph Goldstein, Medical Research at
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after federal funding cuts, researchers grapple with lost grants, COLUMBIA DAILY SPECTATOR
(Apr. 27, 2025), https://www.columbiaspectator.com/news/ 2025/04/27/soul-crushing-a-month-
after-federal-funding-cuts-researchers-grapple-with-lost-grants.
6
 The affected research studies and projects, numbering in the hundreds, include research on
improving public health and medical care, and multi-decade health studies conducted in
coordination with other universities. E.g., Joseph Goldstein, Medical Research at Columbia Is
Imperiled After Trump Terminates Funding, NEW YORK TIMES (March 18, 2025).
                                                  4
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campuses. See NAACP v. Button, 371 U.S. 415, 433 (1963) (noting that First Amendment

freedoms are “delicate and vulnerable,” and “need breathing space to survive”).7

       The federal government’s campaign against American universities threatens to degrade

the vibrancy and openness that are among the universities’ defining characteristics. It is “the

most serious assault on academic freedom in American history.”8 These actions also constitute

naked viewpoint-based abridgements of the right to free speech, in service of a “government-

imposed orthodoxy.” Jenner & Block LLP v. Dept. of Justice, 2025 WL 1482021 at *1 (D.D.C.

2025).9 Coming from a Chief Executive who has forgiven even violent protest when it espoused

a congenial viewpoint,10 the lesson is plain: Only congruence with the President’s viewpoint

determines whether activity is tolerated or subjected to harsh punishment.

       As the legal profession has also recently witnessed, an Administration willing to deploy

the federal government’s vast powers ruthlessly and without regard to constitutional restraints

can bring even well-resourced institutions to heel. See Perkins Coie, LLP. v. Dept. of Justice,



7
 J. Oliver Conroy, US Universities Face Choice to Surrender or Fight Back against Trump’s
‘Takeover’, THE GUARDIAN (Mar. 20, 2025),https://www.theguardian.com/us-news/ 2025/
mar/20/universities-trump-administration (“‘There is extraordinary fear across university
campuses at the very top level’”) (quoting AAUP general counsel Veena Dubal); Kimmy Yan,
Student Visa Cancellations Have Now Hit Over Half of All States. What’s Behind It, NBC NEWS
(April 10, 2025). https://www.nbcnews.com/news/asian-america/international-students-revoked-
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WASHINGTON POST (June 2, 2025), https://www.washingtonpost.com/opinions/2025/ 06/
02/trump-harvard-attack-viktor-orban-ceu-hungary/; see also id. (“Nothing compares to it[.]”).
9
 The Secretary of Education has said: “Universities should continue to be able to do research as
long as they're abiding by the laws and in sync, I think, with the administration and what the
administration is trying to accomplish,” Dan Gooding & Gabe Whisnant, Linda McMahon Says
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   Alan Feuer, Trump Grants Sweeping Clemency to All Jan. 6 Rioters, NEW YORK TIMES (Jan.
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2025 WL 1276857, at *30–31 (D.D.C. 2025) (discussing reactions of Paul Weiss and other

major law firms to threats from the Trump Administration as evidence that threats operated to

chill protected speech). Just as a legal profession in thrall to the President cannot properly

perform its role in promoting the rule of law, intimidated and censored research universities

cannot function as pillars of a free society.

       The campaigns against Harvard, Columbia, and other institutions are not bona fide civil

rights investigations. If they were, the Government would not be attempting to destroy their

targets with massive funding cuts and to disqualify large portions of their student bodies; it

would instead be following Title VI’s modulated, procedurally rigorous, remedially-oriented

provisions, so that the opportunities afforded by the target universities are preserved for all.

Instead, this is a declared war for power and control, seeking to make universities (like big law

firms before them) supplicants to an all-powerful Executive.

  II. The Administration’s Actions Imperil the Vital Public Benefits that Research
   Universities Provide
       Under our Constitution, neither universities nor other private actors must justify their

civic value to the sovereign in order to secure legal protection. This is a free country—

universities can teach and say what they want, and the Government may not use its regulatory

powers or its purse-strings to censor, punish and terrorize perceived political opponents. But it is

nonetheless true that universities like Harvard and Columbia, and the dozens of others now under

attack, contribute enormously to the Nation and the public welfare. They spur national and

regional economic growth, generate war-winning and disease-curing technologies, and nurture

many forms of human creativity. The Administration’s vindictive campaign puts all that at risk.

       Since this country’s earliest days, universities have been vital to the American

experiment: The Massachusetts Constitution of 1780, primarily authored by John Adams, stated


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that in order to diffuse “[w]isdom and knowledge … among the body of the people,” as

“necessary for the preservation of their rights and liberties,” “it shall be the duty of legislatures

and magistrates, in all future periods of this commonwealth, to cherish the interests of literature

and the sciences, and all seminaries of them; especially the university at Cambridge.” Mass.

Const., Art. V, s. 2 (1780). George Washington urged Congress to “[p]romote..., as an object of

primary importance, institutions for the general diffusion of knowledge.” Farewell Address

(Sept. 19, 1796), https://founders.archives.gov/documents/ Washington/05-20-02-0440-0002.

          Today, universities are among the United States’ greatest national assets. The United

States dominates rankings of the world’s greatest universities,11 and American universities have

drawn talent from all over the world. The United States’ count of Nobel Prizes—most of them

faculty at American universities—exceeds that of the next five countries combined.12

          No mere gratuity, the federal government’s support for university research has since

World War II reflected a strategic judgment—proven correct by experience—that well-supported

university research programs would deliver massive benefits for the United States. See Vannevar

Bush, SCIENCE, THE ENDLESS FRONTIER: A REPORT TO THE PRESIDENT (1945). Columbia,

Harvard, and other research universities have competed for and earned federal support by

assembling expertise and infrastructure capable of supporting cutting-edge research. Universities

provide fundamental research that is not provided at scale by any other institutions, including

private businesses. And indeed, the federal government’s investment has paid off massively for




11
   E.g., TIMES HIGHER EDUCATION, World University Rankings 2025 (16 of top 25 universities
located in the U.S.), https://www.timeshighereducation.com/world-university-
rankings/latest/world-ranking; US News, Best Global University Rankings (17 of top 25),
https://www.usnews.com/education/best-global-universities/rankings.
12
     See https://worldpopulationreview.com/country-rankings/nobel-prizes-by-country.

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the country. Since World War II, government-sponsored research has made the United States the

world’s leader in myriad areas of physical sciences, medicine, technological innovation, and

many other domains. Today, “American universities play a pivotal role in fueling innovation,

which in turn drives economic growth and raises living standards in the United States.” J.H.

Cullum Clark, et al., The Innovation Impact of U.S. Universities (G.W. Bush Inst. 2020).

“America’s network of research universities is one of its greatest sources of talent,

entrepreneurship, and research and development—three inputs that in combination can fuel

prosperity in the regions that surround those universities.” Joseph Parilla and Glencora Haskins,

How Research Universities are Evolving to Strengthen Regional Economies (Brookings 2023).

        A central reason for American universities’ dynamism is America’s tradition of academic

freedom. Distinguished American physicist Alan Lightman recently described this “freedom to

express and debate ideas without fear of censorship or reprisal,” as “the greatest engine of

invention, innovation, and economic prosperity in our nation,” and explained:

     To name just a few examples: The internet, in the form of the ARPANET, was developed by
     researchers at UCLA, Stanford, and MIT under the Defense Advanced Research Projects
     Agency in the late 1960s and ’70s. Key concepts and materials for lithium-ion batteries were
     developed at the University of Texas and the University of Oxford. The first artificial heart
     was developed by Robert Jarvik and colleagues at the University of Utah. Google originated
     as a research project by Larry Page and Sergey Brin at Stanford. Natural-language
     processing, neural networks, and deep learning—all fundamental parts of AI—came out of
     research at MIT, Stanford, Carnegie Mellon, and the University of Toronto. Pivotal work in
     CRISPR gene editing was done by Jennifer Doudna at UC Berkeley.13




13
   Alan Lightman, The Dark Ages are Back, THE ATLANTIC (Apr. 30, 2025),
https://www.theatlantic.com/science/archive/2025/04/trump-academic-freedom/682648/. See
Keyishian v. Board of Regents of University of New York, 385 U.S. 589, 603 (1967) (referring to
academic freedom as “of transcendent value to all of us”); Sweezy v. State of N.H. by Wyman,
354 U.S. 234, 261–62 (1957) (Frankfurter, concurring); see also Walter P. Metzger, ACADEMIC
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And from the social sciences to the creative arts, “intellectual and creative freedom in America

has enabled great productivity far beyond the precincts of science and technology.” Id. As

Lightman puts it, “[a]cademic freedom is what has made America great.” Id; see also V. Bush,

THE ENDLESS FRONTIER 54 (“The universities are the chief contributors to pure science, for

research thrives best in an atmosphere of academic freedom.”).

         Universities promote individual freedom and community. They are dedicated fora for

people to trade ideas and form new connections—and can protect against threats from an

encroaching state. See Peter Berger and Richard John Neuhaus Respond, in TO EMPOWER

PEOPLE: FROM STATE TO CIVIL SOCIETY 145, 148 (M. Novak ed., 1996) (discussing “mediating

institutions” that “stand between the private world of individuals and the large,

impersonal structures of modern society”). Universities are “a central part of the infrastructure of

free expression.” Paul Horwitz, FIRST AMENDMENT INSTITUTIONS 3 (2013), forming “the

scaffolding around which civil society is constructed, in which personal freedoms are exercised,

in which loyalties are formed and transformed, and in which individuals flourish.” Richard W.

Garnett, The Story of Henry Adams’s Soul: Education and the Expression of Institutions, 85

Minn. L. Rev. 1841, 1854 (2001).

     As sources of knowledge-based critiques of the powerful, universities provide a

counterweight against overbearing governments. The association between universities and

political liberty is suggested by the ways politicians seeking to suppress freedom and democracy

often turn on universities:

   Attacking universities is a time-worn page in the authoritarian’s playbook, from Benito
   Mussolini’s extraction of loyalty oaths from university faculty and expulsion of Jews from
   campuses in the 1920s and ‘30s, to Adolf Hitler’s shuttering of Czechoslovakian universities
   and his execution of nine students, to the Communist government of Poland’s crackdown on
   academic freedom in the 1970s that gave rise to a nomadic, underground “flying university”



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   whose faculty and students held clandestine classes in private homes to escape arrest by the
   secret police.

Ronald J. Daniels, WHAT UNIVERSITIES OWE DEMOCRACY 4-5 (2021). See id. at 5 (a “similar

pattern is playing out today,” and discussing Hungary, Turkey, Russia and Brazil); Ruth Ben-

Ghiat, STRONGMEN: MUSSOLINI TO THE PRESENT 75-76, 88, 182-83 (2021) (discussing attacks on

universities in Pinochet’s Chile, Erdogen’s Turkey, and Gaddafi’s Libya). Indeed,

   Everything that universities embody is inimical to the autocrat’s interest in the untrammeled
   exercise of arbitrary public power. They are institutions committed to freedom of inquiry, to
   the contestation of ideas through conversation and debate, to the formation of communities
   that gather and celebrate a diverse array of experiences and thought, and to individual
   flourishing achieved through diligent study. They rest upon a foundation of reliable
   knowledge and facts, which are antidotes to the uncertainty and dissimulation peddled by
   authoritarian regimes. They are, to quote William Rainey Harper, the first president of the
   University of Chicago, an “institution born of the democratic spirit.”

Daniels, WHAT UNIVERSITIES OWE DEMOCRACY at 8-9.

       The Administration’s actions against Harvard are part of a nationwide pattern. They are

anathema to American constitutional law and tradition, and pose grave dangers to institutions

and practices central to this Nation’s flourishing. Allowing such actions to stand would cause

enormous further harm to institutions and principles across the country that are integral to

American freedom, prosperity, and democracy.

                                         CONCLUSION

       Harvard’s motion for summary judgment should be granted.

                                              Respectfully submitted,

/s/ Jocelyn Jones                             /s/ Sean H. Donahue
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            APPENDIX: CAAF MEMBERS JOINING AMICUS BRIEF
                   (school abbreviations listed on page A28)

Aaronson, Stuart MSSW (SW 1989)
Abbadi, Claire JD (LAW 2021)
Abdelfattah, Ziyad BA (CC 2015)
Abramsky, Sasha MS (JRN 1994)
Acha, Patricia JD (LAW 1993)
Acholonu, Tomachukwu BA (CC 1998)
Acworth, Edward BS (SEAS 1990), MS (SEAS 1992)
Adams, Paul Edward MS (JRN 1986)
Adler, Alexis BA (BC 1978)
Agee, Phil BA (CC 1986)
Ahrens, William BS (SEAS 1978)
Aita, Judith MS (JRN 1979)
Akcan, Esra PhD (GSAPP 2005)
Alam, Afreen MIA (SIPA 2005)
Alamarie, Kaled Ahmed MS (SPS 2015)
Alba, Samantha MA (TC 2020)
Alekseyeva, Julia BA (CC 2010)
Allen, David JD (LAW 1991)
Allen, Lloyd Hugh BA (CC 1998)
Altman, Dara JD (LAW 1983)
Alvarez-Ugarte, Ramiro LLM (LAW 2009)
Alvarez, Daniel MPA (SIPA 2009)
Aman, Catherine MS (JRN 1998)
Ambaras, David Richard BA (CC 1984)
Amgott, Margo BA (BC 1979)
Amirian, Carol C BA (CC 1986)
Anastasi, Joel Dennis BS (JRN 1963)
Anderson, David Edward BA (CC 2002)
Anemone, Anthony BA (CC 1976)
Apitz, Annette MFA (SOA 1998)
Aradeon, Lisa BA (CC 2000)
Arana, Yordy MArch (GSAPP 1990)
Arango, Luis Felipe MA (SIPA 2005)
Arnold, Phyllis Lynn JD (LAW 1981)
Artinian, Emily BA (CC 1992)
Asakawa, Kiyoshi MA (TC 1989)
Astone, Jennifer BA (BC 1984)
Avrick, Judith (Judy) Factor MA (GSAS 1982)
Ayers, William EdD (TC 1987)
Bacha, Celine BA (CC 2020)
Bacha, Christelle BA (CC 2015)
Bachner, Wayne BA (CC 1980)
Bagnetto, Laura-Angela MS (JRN 2001)

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Baisley (née Kambic), Amelia Sophia BA (CC 1995)
Baisley, David Michael BS (SEAS 1994)
Baker, Dan BA (CC 1976)
Baker, Kevin BA (CC 1980)
Baldelli, Alexandra BA (BC 2023), MS (SEAS 2024)
Ball, Patrick D BA (CC 1988)
Ballenger, Cindy BA (BC 1970)
Banner, Jr., James M. MA (GSAS 1961), PhD (GSAS 1968)
Barar, Rana MPH (PH 2006)
Barasch, Amy JD (LAW 1996)
Barcan, Adam MIA (SIPA 2007)
Barcan, Rafael BS (SEAS 2021), MS (SEAS 2022)
Barcan, Stephen Emanuel BA (CC 1963)
Barilec, Arlene MIA (SIPA 1984)
Barker, Christine Visel BA (BC 1980)
Barker, Robert Edward MS (JRN 1984)
Barnsley, Margaret BA (BC 2024)
Barrett, Dennis Timlin JD (LAW 1967)
Barrett, Thomas Shane BA (CC 1970)
Baruchin, Aliyah MS (JRN 1997)
Baum, Josie Leah Rennie MS (GSAPP 2012)
BautisS-Adler, Esther DPT (VPS 2019)
Bayer, Barbara BA (BC 1976)
Beagle, Daniel S BA (CC 1964)
Beall, Natalie MFA (SOA 2009)
Beamish, Rita C. MS (JRN 1976)
Bearmsn, Joseph Lawrence BA (CC 1959)
Bedell, Julia JD (LAW 2016)
Bell, Jordy PhD (GSAS 1973)
Bellow, Juliet BA (CC 1995)
Beloff, Zoe MFA (SOA 1983)
Benioff-White, Talia BA (BC 2024)
Benjamin, Martin BA (CC 1990)
Benjamin, Peter JD (LAW 1975)
Benton, Kenneth David BA (CC 1976)
Berger, Dov Ari BS (GS 2000)
Berger, Lynn MA (GSAS 2008), PhD (JRN 2015)
Berkin, Carol Ruth BA (BC 1964), PhD (GSAS 1972)
Berman, Jaime JD (LAW 2017)
Bernstein, Anya BA (CC 1996)
Bernstein, Christina Meg BA (CC 1990)
Bernstein, Matthew Evan BA (CC 1991)
Bert, Nancy BA (BC 1981), MPH (PH 1987)
Bertaccini, Donna M MS (JRN 2016)
Bertini, June Perkins BA (BC 1970)
Besserman, Perle Sherry PhD (GSAS 1967)

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Bhargava, Anurima JD (LAW 2002)
Biberman, Nancy E BA (BC 1969)
Bigioni, Fabrizio MBA (BUS 2003)
Bing, Jennifer BA (BC 1990)
Binkoff, Richard Neal MArch (GSAPP 1982)
Blacher, Mark BA (CC 1991)
Black, Sheila Fiona BA (BC 1983)
Blake, Wendy BA (BC 1989)
Blau, Justine Hope MFA (SOA 1991)
Bleecker-Adams, David Joseph BA (CC 1981)
Bliss, Sarah BA (BC 1988)
Bloch, Joshua BS (SEAS 1982)
Block, Fred L. BA (CC 1968)
Bloom, Janice MA (TC 1994)
Bloomfield, David C. JD (LAW 1984)
Boenigk, Lili BS (SEAS 2024)
Bohn, Isabelle Victoria BS (GS 2023)
Bohrenkämper, Dr. Jan LLM (LAW 2011)
Bolger lazzari, Sarah BA (BC 2004)
Bomer, Robert Randall MA (TC 1986), MPhil (GSAS 1995), PhD (GSAS 1996)
Bomersbach, Robert BA (CC 1991)
Boni, Irene MBA (BUS 2008)
Bonner, Chad Thomas BA (CC 2002)
Bookspan, Emeline BA (BC 2020)
Borden, Sarah E. MPH (PH 2009)
Borgia, Victoria Marie BA (CC 1992)
Bose, Amitabha BS (SEAS 1989)
Botshon, Lisa PhD (GSAS 1997)
Bouris, Alida Magdaline MSSW (SW 2004), MPhil (SW 2008), PhD (SW 2009)
Boutel, Adrian Edward Trevor LLM (LAW 1997)
Bowman, Warigia Margaret BA (CC 1990)
Boylan, Michael Joseph BA (CC 1975)
Bradburd, Ralph BA (CC 1970), PhD (GSAS 1976)
Brainerd, Georgina Cannon BA (CC 2025)
Brauer, Annika MPH (PH 2022)
Bremer, Francis J PhD (GSAS 1972)
Bridenthal, Renate PhD (GSAS 1970)
Britt, Kelly PhD (GSAS 2009)
Brock, Jeffrey Miller MArch (GSAPP 1991)
Brodey, Denise E BA (BC 1985)
Brody, Elizabeth JD (LAW 2017)
Brody, Ruth BA (BC 1987)
Broido, Ellen M. BA (CC 1987)
Broido, Peter W BA (CC 1963)
Bronson, Adam Paul MPhil (GSAS 2006), PhD (GSAS 2012)
Brooks, Kelly MIA (SIPA 2005)

                                          A3
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Brown, Allegra BA (CC 2011)
Bryer, Jackson Robert MA (GSAS 1960)
Bua, Paul Francis BA (CC 1993)
Buchman, Jeremy BA (CC 1991)
Buchsbaum, Herbert R MS (JRN 1983)
Bullen, Christine Valerie BA (BC 1967)
Bunch, Greg MFA (SOA 2022)
Burgin, Karen Black BA (BC 1964), EdM (TC 1978)
Burk, Rachel BA (CC 1996), MA (GSAS 2000)
Buylaert, Frederik MA (GSAS 2004)
Byfield, Judith PhD (GSAS 1993)
Bylander, Kim MPH (PH 2004)
Cagan, Eve BA (BC 1979), MPH (PH 1986)
Cahill, Caedmon Magboo BA (BC 2000)
Calhoon, Claudia M. MPH (PH 2000)
Callaghan, Blair DPT (VPS 2016)
Camacho, Michael BA (CC 2005)
Candano, Gerardo MBA (BUS 1994)
Cane, Jacob BA (CC 1996)
Canedo, Eduardo BA (CC 1999), MA (GSAS 2002) ,PhD (GSAS 2008)
Canossa, Lee BA (BC 1971)
Cantwell, Rebecca Dirkje MS (JRN 1979)
Capeci, Jenna MA (SIPA 2005)
Carbone, Erin BA (BC 2005)
Cardona, Sophie BA (BC 1994)
Carlton, Susan Kaplan MS (JRN 1983)
Carmona, Jennifer BA (CC 1991), MPH (PH 1995)
Carter, Nadia BA (CC 2000)
Carty, Meghan BA (BC 2016)
Carty, Stephen BA (CC 1985)
Casertano, Lorenzo BA (CC 2009), DPT (VPS 2012) ,EdD (TC 2024)
Casey, Sara DrPH (PH 2016), MIA (SIPA 2002) ,MPH (PH 2002)
Casolari, Samantha MIA (SIPA 2005)
Cass, Amy BA (CC 2007)
Cassuto, Leonard BA (CC 1981)
Castedo, Juliana BA (CC 2005)
Castellini, Lorenzo S MBA (BUS 1975)
Chadbourne, Elizabeth MPH (PH 2020)
Chai, Tina BA (CC 1993)
Chajet, Lori MA (TC 1995)
Chamberlain, Jill BA (CC 1989)
Chamberlain, Lisa C MS (JRN 2003)
Chang, Sophia MS (JRN 2006)
Chavez, Lorraine Pedersen BA (GS 1983)
Chavkin, Wendy MPH (PH 1981)
Chenoweth, Eric BA (CC 1985)

                                       A4
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Chesler, Ellen J. MA (GSAS 1972), PhD (GSAS 1990)
Chin, Daryl BA (CC 1974)
Chipman, Andrea BA (CC 1989)
Chitnis, Anand BA (CC 2025)
Choi, Woo Ri Joanne JD (LAW 2021)
Chow, Rosalind BA (CC 2002)
Christie, Donna BA (CC 1986)
Chritton, Phillip William JD (LAW 1991)
Chu, Vivian BA (BC 1992), MA (SIPA 1997)
Chuang, Elizabeth MPH (PH 2012)
Chzaszcz, Laura MA (TC 2017)
Ciannella, Kathleen Annette BA (BC 1973)
Clapp, Peter BA (CC 1969)
Clark, Katharine T MA (GSAS 2011)
Clause, Bonnie Tocher BA (BC 1964)
Clyne Cundberg, Sarah BA (GS 2006), MS (JRN 2008)
Coda-Nunziante, Carlo MBA (BUS 1999)
Cody, Melinda BA (BC 1986)
Cohen-Laurie, Jeffrey S. BA (CC 1998)
Cohen, Jessica BA (BC 2013)
Cohen, Julie Ruth MS (JRN 1989)
Cohen, Kira Joan MA (TC 2018)
Cohen, Mardge Hillary BA (BC 1972)
Cohen, Martin Gilbert BA (CC 1957)
Cohen, Pamela Schwartz JD (LAW 1987)
Cohen, Rachel Val BA (BC 1970), MA (TC 1974)
Cohen, Roberta J BA (BC 1960)
Cohen, Steven Martin BA (CC 1970), PhD (GSAS 1974)
Colard, Sandrine PhD (GSAS 2016)
Cole, Avanthi JD (LAW 2021)
Collier, Mark David BA (CC 1992)
Collins, Kelly BA (CC 1995)
Collins, Nina Lorez BA (BC 1990), MS (GS 2013)
Collins, Sarah MS (JRN 2020)
Collins, Sheila Suzanne MA (GSAS 1967)
Conklin, Marijke BA (BC 2001), MA (TC 2009)
Connell, Frances G BA (BC 1971), EdD (GSAS 1982)
Conner-Sax, Adam BA (CC 1993)
Conquest, Jessica BA (BC 2006)
Contiguglia, Francesca BA (CC 1994), MA (JRN 1997)
Cooke, Siobhan B. BA (BC 2002)
Cooper-Kahn (nee: Cooper), Joyce Anne BA (BC 1976)
Cooper, Georgia BA (BC 1989)
Cooper, Richard Allen BA (CC 1976)
Cordell, Rob JD (LAW 1995)
Corrales, Lia PhD (GSAS 2014)

                                        A5
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Corsini, Gerard Andrew JD (LAW 1972)
Costa, Kevin R BA (CC 1981), MS (GSAPP 2023)
Craddock, Shannon Ashley BA (CC 1990)
Crawford, Rebekah Felice BA (BC 1993)
Crawford, Thomas PhD (TC 1997)
Crawford, Thomas N PhD (TC 1997)
Crock, Stanley Miles BA (CC 1972), JD (LAW 1977)
Cross, Sally Jeannette BA (BC 1981)
Cruz, M. Luisa BA (CC 1997)
Curtis, F Lowelll BA (CC 1963), MA (TC 1965)
Cuyler, Elaine Ann BA (BC 1984)
Danyal, Syed MS (BUS 2014)
Das, Jason BA (CC 1999)
Dastin-Van Rijn, Michele J MIA (SIPA 1992)
Davalos, Liliana M PhD (GSAS 2004)
Davenport, Luke MBA (BUS 2009), MIA (SIPA 2009)
Davenport, Nancy PhD (GSAS 2009), MPhil (GSAS 2006)
Daverne, Isabelle Paule MBA (BUS 1977)
Davis, Ann Elizabeth BA (BC 1967)
Davis, Emory BA (BC 2007)
Davis, Hank BA (CC 1963)
Davis, Lennard J BA (CC 1970), PhD (GSAS 1976)
Davisson, John BA (CC 2008)
De Bruin, Carolien MA (BUS 2008)
De Castro Rubio Poli, Fernando MBA (BUS 2016)
De Chant, Katherine BA (CC 2016)
De Santis, Solange BA (BC 1975), BS (JRN 1976)
De Silva, Gretchen Elizabeth MPH (PH 2010)
Deal, John Russell BA (CC 1993)
Dearborn, Mary V. PhD (GSAS 1986)
Della Cava, Ralph S. PhD (GSAS 1968)
Demarco, Elizabeth BA (BC 2009)
Demas, John Peter BA (CC 1976)
Dennison, Gabrielle Porter BA (BC 1978)
Descoteaux, Steven BA (CC 1990)
Devaney, Hilary MFA (SOA 2022)
Devlin, Michael James MD (VPS 1982)
Dias, Wesley JD (LAW 1978)
Dickstein, Max Joseph BA (CC 2001), MS (JRN 2006)
Dicomo, Devon MS (JRN 2022)
Dinovelli-Lang, Danielle PhD (GSAS 2010)
Dinsmore, Christine MS (JRN 1997)
Dogbevi, Emmanuel K MS (JRN 2014)
Doherty, Thomas BA (CC 1987)
Dolan, Marlene Christie MA (TC 1984)
Doll, Amanda Willoughby MA (TC 2002), EdM (TC 2008)

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Dominique, Elvita BA (BC 2003)
Donahue, Joseph MFA (SOA 1979), PhD (GSAS 1993)
Dordai, Philippe Charles MArch (GSAPP 1982)
Dordick, Gwendolyn Ann PhD (GSAS 1994)
Dottin, Randall Ivan MFA (SOA 2003)
Dreyfuss, Nancy Matis BA (BC 1976), MS (TC 1978)
Dreyfuss, Robert Carmen BA (CC 1970)
Dubin, Donald MD (VPS 1956)
Dubin, Louise BA (CC 1992)
Dubnau, Eugenie J BA (BC 1960), MA (CC 1961)
Dubnau, Jenny BA (BC 1985)
Duncan, Nancy Jane Guri BS (JRN 1968)
Dunham, Jennifer BA (CC 1995)
Dunn, Malinda Kathryn MS (VPS 1980)
Dutton, Geoffrey H BA (CC 1966)
Dynan, Linds Marie MA (GSAS 1991), MPhil (GSAS 1991), PhD (GSAS 1994)
Dzik, Eileen MS (JRN 1987)
Edelman, Robert Simon PhD (GSAS 1974)
Edgar, Adrienne Lynn MIA (SIPA 1987)
Edwards, Ethan BA (CC 2015), MFA (GSAS 2018)
Eggert, Trip BA (BC 2016)
Ehrhardt, George MPA (SIPA 2012)
Ehrlich, Robert BA (CC 1962)
Einhorn, Richard L BA (CC 1975)
Elder, Christina BA (BC 2006)
Eldredge, Robert Niles BA (CC 1965), PhD (GSAS 1969)
Eliel, Ruth L MIA (SIPA 1976)
Elkin, Noah BA (CC 1991)
Elmer, Hannah BA (BC 2006), PhD (GSAS 2019)
Elzorkany, Omar LLM (LAW 2011)
Emery, Charles Fiske BA (CC 1980)
Emigh, Rebecca Jean BA (BC 1984), MA (GSAS 1985)
Eng, David L BA (CC 1990)
Engel, Barbara Alpern PhD (GSAS 1974)
Engel, Dana Ruth BA (BC 1965), MA (TC 1966) ,MA (BUS 1991)
Engels, Karen BA (CC 1996)
Englund, John Henry BA (CC 1970)
Englund, William MS (JRN 1976)
Enrico, Maria Letizia BA (BC 1972)
Enzminger, Lena BA (BC 2012)
Erickson, Alexander MSSW (SW 2018)
Erickson, Amanda BA (CC 2008)
Erlich, Mark BA (CC 1970)
Ernst, Frederick BA (CC 1988)
Erwin, Kevin MPhil (GSAS 2006)
Esquire, Noelle MPH (PH 2014)

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Essomé, Michelle Kathryn MBA (BUS 1999)
Fahy, Sandra BA (CC 1993), MA (TC 2004)
Fairclough, Pamela BA (BC 1981)
Farber, Andrew BA (CC 1975), MBA (BUS 1981)
Farber, Martin BA (CC 1971)
Farrington, Darren MFA (SOA 1993)
Feege, Christina BA (BC 1989)
Feigenberg, Alan MArch (GSAPP 1969)
Feldman, Diane Sue BS (BC 1964)
Feldman, Stephanie BA (BC 2005)
Felsman, Colin Lee BA (CC 2009)
Fenley, Sally BA (BC 1976)
Fenley, William Greene BA (CC 1973)
Ferguson, Robert Brent JD (LAW 2010)
Ferry, Elizabeth BA (CC 1990)
Fettig, Amy MIA (SIPA 1996)
Feuerstein, Andrew BA (CC 1960)
Feuerstein, Harvey Saul BA (CC 1958)
Fichter, Margaret Dolid BA (BC 1968)
Fierman, Eugene J BA (CC 1966)
Finan, Christopher Michael PhD (GSAS 1992)
Fine, Anne Gabrielson BA (BC 1981)
Fine, Michelle PhD (TC 1981)
Fisher, Elizabeth L. BA (CC 2012)
Fitzgerald, Paul Vincent BA (CC 1972)
Fleet, Katherine Anne BA (CC 1995)
Fleming, Alison Sarah BA (GS 1967)
Fleming, John Thomas BA (CC 1980)
Flint, Margaret Mitchell BA (BC 1974), JD (LAW 1983)
Flynn Gameng, Mary Ann BA (BC 1989)
Flynn, Leah BA (BC 2013)
Foley, Joe MFA (SOA 2009)
Foner, Naomi BA (BC 1966), MA (TC 1967)
Foretia, Crystal BA (CC 2023)
Fornara, Charles William BA (CC 1986)
Fousek, John BA (CC 1981)
Fox, Ann BA (CC 1993)
Frampton, Megan BA (BC 1986)
Frangos, Judith Malkin BA (BC 1964)
Frank, Carrie BA (CC 1997), MA (TC 2000)
Frank, Laura Margolis BA (CC 1995)
Franklin, Allan BA (CC 1959)
Franks, Becca PhD (GSAS 2012)
Freedman, Mark BA (CC 1979), MIA (SIPA 1980)
Freedson, Julia MIA (SIPA 2001)
French, Lorien MA (SIPA 1988)

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Fried, Ronald K BA (CC 1977)
Friedberg, Andreas MA (GSAS 1984)
Friedhoff, Richard Mark BA (CC 1976)
Friedl, Harald MS (GS 2004)
Friedman, Gerald Carl BA (CC 1977)
Friedman, James Samuel BA (CC 2001)
Friedman, Michael Belais BA (CC 1964), MA (GSAS 1971)
Friedman, Michael Jon BA (CC 1965)
Fromhart, Stephen MIA (SIPA 1998)
Fuentes, Elizabeth MPH (PH 2007)
Gallay, Paul JD (LAW 1984)
Gallo, Eliza BA (CC 1993)
Gálvez (née Clawson), Alyshia BA (CC 1995)
Galvin, Katherine Marie BA (BC 1971)
Gantrish, Kurt BA (CC 1987)
Garberg, Gary Wayne BA (CC 1984)
Garberg, Mollie BA (BC 1984)
Garcia, Magda T. BA (BC 1981)
Garrett, Frances Mary BA (CC 1989)
Gehr, Theodore MIA (SIPA 1990)
Geist, Sheila MA (GSAS 1957)
Gelber, Mitchell Evan BA (CC 1997)
Gendreau, Emelia DPT (VPS 2024)
Geneslaw, Andrew MS (PH 2022)
Geneslaw, Charles Howard BA (CC 1978)
Geoffrey, Russell BA (CC 1975)
Gerrard, Megan MA (SIPA 2011)
Gerson, Risa Beth BA (BC 1979)
Gibson, Mark BA (CC 1986)
Gilson Wara, Rebecca BA (CC 1994)
Ginestra, Jennifer Claire MD (VPS 2015)
Gittelson, Ben BA (CC 2015)
Glassgold, Peter BA (CC 1960)
Glassheim, Eagle PhD (GSAS 2000)
Gogineni, Bina Suzanne MA (GSAS 2002), MPhil (GSAS 2005), PhD (GSAS 2011)
Gold, James Stuart BA (CC 1979)
Gold, Marthe R. MPH (PH 1986)
Goldberg, Elana Daniels BA (GS 1983)
Goldberg, Gertrude Schaffner MSSW (SW 1961), PhD (SW 1976)
Goldenberg, Rachel BA (CC 1997)
Goldhor, Susan BA (BC 1960)
Goldman, Alvin L. BA (CC 1959)
Goldman, Karen S BA (BC 1980), PhD (GSAS 1990)
Goldstein, James A BA (CC 1959)
Goldstein, Katherine Whitney BA (CC 2005)
Golick, Toby BA (BC 1966), JD (LAW 1969)

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Gombach, Barbara Claire PhD (GSAS 2000), MPhil (GSAS ) ,MA (GSAS )
Gonzalez Ambia, Juan Pablo MBA (BUS 2008)
Gooch, Brad BA (CC 1973), PhD (GSAS 1986)
Goodman, Emily Jane BS (JRN 1980)
Goodstein, Richard Alan BA (CC 1986)
Gordon, Jamie Beck MA (SIPA 1978)
Gordon, Nicole BA (BC 1974), JD (LAW 1977)
Goshin, Lorie PhD (NRS 2010)
Gosse, Van BA (CC 1983)
Gottlieb, Barbara Rose BA (BC 1971)
Graebner, Alan Niehaus PhD (GSAS 1965)
Graf, Gerald BS (PHRM 1960)
Grajnert, Paul MFA (SOA 2005)
Granvillw, Michael Edwin BA (CC 1983), MArch (GSAPP 1992)
Gray, Jacquelyn Charisse MS (JRN 1986)
Graziussi, Graziano MPA (SIPA 2001)
Green, Ethan BA (CC 2022)
Greenbaum, Jessica BA (BC 1979)
Greenberg, Cheryl PhD (GSAS 1988), MA (GSAS 1981) ,MPhil (GSAS 1983)
Greenberg, Jessica BA (CC 1997)
Greiff, Peter R. BA (CC 1979)
Griffith, Mathia MA (GSAS 2021)
Gross, Marc Ian BA (CC 1969)
Groves, Jacq MFA (SOA 2022)
Grumbach, Adam MA (TC 1993)
Grunschlag, Dov M. BA (CC 1963), JD (LAW 1966)
Guay, Robert Edward BA (CC 1992)
Guerlac, Suzanne BA (BC 1971)
Gunsur, Sedef MIA (SIPA 2005)
Gurbach, Lauren BA (CC 2020)
Gurbach, Sarah BA (CC 2017)
Gurnis, Musa PhD (GSAS 2004), PhD (GSAS 2011)
Gutman, Daphna BA (CC 1997)
Guttmacher, Sally J PhD (PH 1975)
Guttmann, Dina R BA (CC 1994)
Hagemann, Eric BA (CC 2003), MBA (BUS 2011)
Haggerty, Rebecca BA (CC 1988), MS (JRN 2005)
Halasz, Thomas BA (CC 1988)
Haleem, Deen JD (LAW 2024)
Hall-Moran, Alicia BA (BC 1995)
Hall, Anne Kelly BA (CC 1989), MA (GSAS 1993)
Hall, Clover MBA (BUS 1972)
Hall, Jamila Marjani JD (LAW 2003)
Hall, Sara BA (CC 1992)
Hamilton, James Jay PhD (GSAS 1978)
Hammond, Kenneth MS (SEAS 2014), PhD (GSAS 2017)

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Han, Alvina BA (CC 2020)
Han, Darow BA (CC 1991)
Hancock, Lynnell MA (GSAS 1980), MS (JRN 1981)
Hand, Susanne BA (BC 1972), MS (GSAPP 1977)
Handal, Diane Patricia MS (JRN 1999)
Hannon, James BA (CC 1980)
Hans, Gautam BA (CC 2006)
Hariharan, Krishnan MIA (SIPA 2005)
Harrison, Juli Wells BA (BC 1981)
Hartman, Berl Mendelson BA (BC 1960)
Hartman, Karen Sue BA (BC 1969), MA (GSAS 1972)
Hartman, Thomas Victor MA (GSAS 1996)
Hartmann, Jenny PhD (SW 2023)
Haskel, Paul B. JD (LAW 1988)
Hassman, J JD (LAW 2006), MIA (SIPA 2006)
Hattemer-Higgins, Ida BA (BC 2001)
Hatton, Yvette Marie BA (BC 1997)
Hawn, Michael Aaron MFA (SOA 2004), PhD (TC 2019)
Haxthausen, Charles Werner PhD (GSAS 1976)
Haxthausen, Christa Louise BA (BC 1995)
Haxthausen, Eric M. BA (CC 1990)
Hechtman, Sarah JD (LAW 1993)
Hegeman, Elizabeth MA (GSAS 1965)
Heitel, Jennifer MPH (PH 2014)
Hekkala, Evon PhD (GSAS 2004), MS (GSAS 2000)
Hellauer, Susan MPhil (GSAS 1983)
Heller, Christine BA (CC 1996)
Henderson, Samantha Jean BA (CC 2014)
Heningway, Emily BA (BC 2006)
Hennawi, Lindsey MSSW (SW 2017), MPH (PH 2017)
Hernandez, Aileen BA (CC 2024)
Herrington, Elizabeth Dixon BA (BC 1986)
Herrlich, William Morgan BA (CC 1959)
Herzog, Antonia MS (SEAS 1989)
Heyman, Jessica BA (BC 1993)
Heymsfeld, Joel BA (CC 1965)
Hiegel, Adrienne JD (LAW 1994)
Hill, Alex BA (GS 2024)
Hinzen, Parul Kapur MFA (SOA 1989)
Hirsch, Alan - MPhil (GSAS 1989)
Hirsch, Ellen Gay MSSW (SW 1965)
Hirsch, Paul Frederick BA (CC 1966)
Hock McCalley, Peggy BS (GS 1970), PhD (GSAS 1976)
Hoffman, Anne BA (BC 1970)
Holleman, Grace BA (BC 2021)
Holt, Alan Bruce MArch (GSAPP 1985)

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Holzer, Madeleine EdD (TC 1977)
Hood, Clifton Dodds PhD (GSAS 1986)
Hood, Whitney JD (LAW 2016)
Horesh, Cindy JD (LAW 1999)
Horowitz, Jason H BA (CC 1986)
Howe, William BA (CC 2010)
Howell, Martha Congleton PhD (GSAS 1979)
Huang, Helena Y MPA (SIPA 1992)
Huang, Mab PhD (GSAS 1969)
Huq, Chaumtoli BA (CC 1993)
Iliev-Piselli, Marquina Marie MA (TC 2012)
Ilves, Toomas Hendrik BA (CC 1976)
Imas, Alex JD (LAW 2013)
Injac, Sarah BA (CC 2000)
Ireland, Gary BA (GS 1986)
Irvine, Matthew BA (CC 1989)
Irving, Jennifer MS (JRN 2022)
Isola, Isabella MBA (BUS 1986), BA (BC 1981)
Itzkowitz, Steven BS (CC 1975)
Jachimczyk, Dacid Caesar BA (CC 1978)
Jackson, Nancy Beth MS (JRN 1963)
Jacob, Sneha MS (PH 2010)
Jacobs MD, Troy MPH (PH 1988)
Jacobs, Brian BA (CC 2003)
Jacobs, Gregory A. JD (LAW 1977)
Jacoby, Stephen M. JD (LAW 1965)
Jain, Anurag BA (CC 1998)
Jain, Navita MPH (PH 2012)
Jawanda, Satinder BA (BC 1989), MA (TC 1991)
Jech, Pavel BA (CC 1990), MFA (SOA 1996)
Jeffrey, Michael Von Richthofen MIA (SIPA 1992)
Jeffrey, Sophia BA (BC 1991)
Jenkin, Leonard BA (CC 1962), PhD (GSAS 1973)
Jenkins, Emily Lockhart PhD (GSAS 1998)
Johnson, Jennifer MS (NRS 2016)
Johnson, Lyman Hope BS (SEAS 2007)
Johnson, Sharon Dorothy BA (BC 1985)
Johnston, Victoria BA (CC 2006)
Jolivet, Rachel Repetto BA (CC 1987)
Jonas, Steven BA (CC 1958)
Jordan, David BA (CC 1990)
Jordan, Judith S MS (LS 1964), MA (GSAS 1984)
Jordan, Rob MS (JRN 2002)
Jorgensen, Ellen Dias MA (GSAS 1979), MPhil (GSAS 1980)
Joseph, Regina Waynes MA (TC 1980)
Joslyn, Lorel Marie MA (GSAS 1977), MPhil (GSAS 1984)

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Joyner, Will MS (JRN 1979)
Juillard, Florence BA (CC 2002)
Jung, Hyun-Tae PhD (GSAS 2011)
Jung, Michelle BA (BC 1991)
Kahn-Kirby, Amanda H BA (CC 1995)
Kalicki, Jan H BA (CC 1968)
Kaller, Shelly MPH (PH 2005)
Kamal, Sauleha BA (BC 2015)
Kane, Margaret Ann MS (SW 1972)
Kang, Changduk PhD (GSAS 2020)
Kantor, Julie BA (GS 2002), MFA (SOA 2013)
Kaplan (nee Resnik), Ronnie Jane BS (BC 1971)
Kaplan, Kenneth Lancet MArch (GSAPP 1984)
Kaplan, Marion PhD (GSAS 1978)
Kappaz, Christine Marie MBA (BUS 2000), MIA (SIPA 2000)
Katz, James C. BA (CC 1975), MBA (BUS 1980)
Kausch, Eve Marie Towler BA (BC 2018)
Kayen, Jacob Silverman BA (CC 2015)
Kazarian, Katherine S. BA (BC 2012)
Kazarian, Michele Halberian BA (BC 1977)
Keck, Margaret E PhD (GSAS 1986)
Keller, Stanley BA (CC 1962)
Kelly, Louise Price MBA (BUS 1999)
Kenney, Catherine Taft MPA (SIPA 1996)
Kenney, Sara Katherine BA (BC 1986)
Kennington, Annie BA (BC 2010)
Kerber, Linda K BA (BC 1960), PhD (GSAS 1968)
Kerr, Gabriel BA (CC 2012)
Ketchoyian, Edward BS (SEAS 1982)
Khan, Shireen MBA (BUS 2002), MIA (SIPA 2002)
Khandwala, Gopa Girin BA (BC 1985)
Khurana, Swati BA (CC 1997)
Kidambi, Amirtha MA (GSAS 2018)
Kidwell, Karen G. BA (BC 1976), MBA (BUS 1983)
Kilian, Crawford BA (CC 1962)
Kim, Linda BA (BC 1995)
King, Bessie MA (JRN 2010)
King, David Livingston BA (CC 1981), MArch (GSAPP 1985)
King, Donald West BA (CC 1977)
Kingra, Mahinder Singh BA (CC 1989)
Kissner, Dana Gleicher BA (BC 1967)
Kizenko, Nadieszda PhD (GSAS 1995)
Klaiber, Susan PhD (GSAS 1993)
Klapkin, Susan Ellen BA (BC 1976)
Klass, Keren MA (GSAS 2010)
Kleiman, Terry Sur BA (BC 1967)

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Klein-Pejsova, Rebekah PhD (GSAS 2007)
Klein, Jason Gary BA (CC 1997)
Klein, John Richard PhD (GSAS 1990)
Kline, Jennie Katherine MS (PH 1974), PhD (GSAS 1977)
Knaus, Fleta Holley BA (BC 1990)
Knipp, Donna MS (JRN 1997)
Koblitz, Donald Jeremy BA (CC 1974)
Kobylarz, Thaddeus BS (SEAS 1985), PhD (GSAS 1997)
Kolbert, Karen Ann MA (TC 1994)
Kolodny, Randy MA (TC 1986)
Kopperman, Leah BA (BC 1989)
Koral, Edward BA (CC 1983)
Koretz, Richard BA (CC 1975)
Korink, Saskia MBA (BUS 1995)
Koroneos, Christopher BS (SEAS 1976), MS (SEAS 1978), EngScD (SEAS 1987)
Koss, Elaine BA (BC 1964)
Kouretsos, Antonia BA (BC 1976)
Kraham, Susan BA (CC 1987), JD (LAW 1992)
Kranowitz, Carol Stock BA (BC 1967)
Krantz Evans, Gretchen Elizabeth JD (LAW 1999)
Kristiansen, Kristjana Evelyn BS (VPS 1970), MS (VPS 1972)
Kritz, Jennifer BA (CC 1998), MA (GSAS 2000)
Krovoza, Janet D MS (JRN 1983)
Kunen, James Simon BA (CC 1970)
Kung, Chien-wen PhD (GSAS 2018)
Kunian, David BA (CC 1992)
Kurtzman, Laura MS (JRN 1988)
Kutasz, Barbara Lynn BA (BC 1980), MA (TC 1983)
Kwon, Ellen Yongjoo BA (CC 1990)
Lacoss, Richard Thaddee BA (CC 1959), BS (SEAS 1960)
Lahiri, Jhumpa BA (BC 1989)
Lahiri, Mythili BA (BC 1994), MIA (SIPA 1995)
Lamarche, Gara BA (CC 1976)
Landau, Barry Jay BA (CC 1963)
Langan, Elizabeth Birch PhD (GSAS 1987)
Langer, Elizabeth BA (BC 1969)
Lanoue, Nancy MIA (SIPA 1976)
Laplaca, Caroline BA (CC 2021)
Lasinski, Barbara Forman BA (BC 1962)
Lattarulo, Nicolina MS (SW 2002)
Launay, Robert BA (CC 1970)
Lax, Timothy Emile MFA (SOA 2021)
Leban, Janet BA (BC 1956)
Lederman, Michelle MBA (BUS 1999)
Lee, Donald MA (TC 1988), EdD (TC 2002)
Lee, Elizabeth BA (CC 2012)

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Lee, Eugenia Wu MBA (BUS 2008)
Lee, Jeannie BA (BC 1988)
Lee, Joann MPA (SIPA 2005), MSSW (SW 2005)
Lee, Sunhee BA (CC 1990)
Leeper, Nicolas BA (CC 2014)
Lefebvre, Dominique MFA (SOA 2013)
Legardeur, Armand MArch (GSAPP 1984)
Leibowitz, Michael Jonathan BA (CC 1966)
Leighton, Taigen Dan BA (CC 1977)
Lemberger, Michal BA (BC 1994)
Lennon, Mary Clare PhD (GSAS 1980), MS (PH 1984)
Lenssen, Nathan MA (GSAS 2017), PhD (GSAS 2022)
Lerma, Judith Cashin BA (BC 1967)
Lerner, Judith Ann MA (GSAS 1966)
Lessoff, Alan BA (CC 1981)
Levathes, Louise MA (JRN 1971), BA (BC 1970)
Leventet, Margaret BA (BC 1963)
Levert, William John BA (CC 1968)
Levin, John Freeman BA (CC 1966)
Levine, Judith MS (JRN 1979)
Levy, Elizabeth BA (CC 1991)
Levy, Karen BA (CC 1992)
Lewis, Robin Jared PhD (GSAS 1977)
Lidofsky, Steven BA (CC 1975), PhD (GSAS 1980) ,MD (VPS 1982)
Liebman, Jonathan BA (CC 1981)
Liebowitz, Sharon MArch (GSAPP 1991)
Liggio, Jeanne Marie BA (BC 1993)
Linden, Jacqueline Patricia BA (BC 1978)
Lipman, Amy BA (BUS 1980), MA (GSAS 1990)
Lipman, Marvin Matthew BA (CC 1949), MD (VPS 1954)
Lipton, William BA (CC 1990), MA (GSAS 2002)
Liu, Karen BA (CC 1994)
Lloyd, Holly Prenzler MArch (GSAPP 1982)
Loader, Gordon Bruce MS (GSAPP 1985)
Long, Sean T JD (LAW 1993)
Long, Shepard BA (CC 1992)
Lopez Martinez, Rosalaura MBA (BUS 2018)
Lopez, Ana BS (BC 1977), MBA (BUS 1990)
Lora, Francis BA (CC 2003), MS (SW 2009)
Lord, Victoria Marie MA (GSAS 1991)
Lorr, Ben A BA (CC 2001)
Loughman, Siobhan Kate BA (CC 1989), MA (TC 1996)
Lovett, Margot MIA (SIPA 1984), PhD (GSAS 1996)
Lubell, Michael S. BA (CC 1963)
Luckett, Oscar Paley BA (CC 2025)
Lund, Jakob Silas MIA (SIPA 2009)

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Lynch, James BA (CC 1985)
Mack, Charlotte Yvonne BA (BC 1979)
Macri, Linda C. BA (CC 1987)
Maher, Sarah Elizabeth BA (BC 1991)
Makleff, Shelly MPH (PH 2005)
Malinsky, Daniel Simon BA (CC 2011)
Malpede, Karen MFA (SOA 1972)
Manchester, Laurie MA (GSAS 1990), MPhil (GSAS 1991), PhD (GSAS 1995)
Manktelow, Anne Eileen BA (BC 1988)
Mann, Marcy MA (TC 1987)
Mannheimer, Michael J.Z. JD (LAW 1994)
Manning, Jeremy F. BA (CC 1990)
Manning, Steven MS (JRN 1983)
Manos, Pauline MIA (SIPA 1988)
Mao, Howard BS (SEAS 2014)
Marcus, Jed S. JD (LAW 1976)
Margolis, Maxine L. PhD (GSAS 1970)
Markey, Eileen Marie BS (JRN 2000)
Markowitz, John Caleb BA (CC 1976), MA (GSAS 1978) ,MD (VPS 1982)
Marks, Laura BA (CC 1990), MIA (SIPA 1996)
Maroon, Paul Charles BA (CC 2000)
Martin, Devon BA (CC 1990)
Marx, Terry MPH (PH 1989)
Marzola, Michele MBA (BUS 1984)
Mashinic, Elisabeth BA (BC 1980)
Mason, Stephany PhD (GSAS 2000)
Masur, Joshua BA (CC 1990), JD (LAW 1999)
Masur, Sandra Kazahn MA (GSAS 1962), PhD (GSAS 1967)
Mathieu, Alexandra PhD (GSAS 2025), MA (GSAS 2019) ,MPhil (GSAS
2021)
Mawad, Dalal MA (JRN 2012)
Maxwell, William J. BA (CC 1984)
Mays, Susan PhD (GSAS 2013)
Mccabe, Alec D.B. MIA (SIPA 1993)
McCaffery, Regina BA (BC 1975), MSSW (SW 1977)
McCarthy, Margaret Elanor BA (CC 1986), JD (LAW 1989)
McCarty, David Matthew BA (CC 1986)
McCarville, Michael MPA (SIPA 2022)
McCorry, Eileen Mary BA (BC 1970), MBA (BUS 1980)
McCullough, Madison Zara MSSW (SW 2014)
McGahan, Amy Gewirtz BA (BC 1978)
McKay, Heather S BA (CC 1992)
McKeon, Michael PhD (GSAS 1972)
McKinley, Stephen MS (JRN 1999)
McNally, Richard John BA (CC 1980), MA (TC 1984)
McNamara, Eileen BA (BC 1974), MS (JRN 1976)

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McNeil, Emily K BA (BC 1999)
McNerney, Clare Elizabeth MPH (PH 2023)
McPherson, Samuel John BA (CC 1980)
Mead, Julia Charlotte BA (GS 2004), MA (JRN 2007)
Mechanick, Chase Henry JD (LAW 2015)
Mehta, Rohan BA (CC 2025)
Mejia, Susana E MPH (PH 2017)
Meksin, Anya MFA (SOA 2011)
Meltz, Daniel BA (CC 1978)
Meltzer, Cori Flam JD (LAW 1995)
Mernin, Brendan BA (CC 1988)
Messick, Kit BA (BC 1996)
Metalios, Joy Kim BS (SEAS 1990)
Metalios, Marina BA (BC 1985), MA (SIPA 1992)
Metsopoulos, Peter BA (CC 1989)
Meyerson, Michael MSSW (SW 1995)
Michaels, David MPH (PH 1981), PhD (GSAS 1987)
Michaels, Sarah BA (BC 1975)
Michelson, Melissa BA (CC 1990)
Micheo, Francisco BA (CC 2015)
Micir, Melanie BA (CC 2003)
Mickey, Georgia Abigail MBA (BUS 1977), PhD (GSAS 2004)
Miller, Ashley BA (CC 1999)
Miller, Edward BA (CC 1998)
Miller, Karina MFA (GSAS 2004)
Millien, Raymond BS (SEAS 1992)
Mills, Soledad MIA (SIPA 2005)
Minhas, Mandeep S MA (SIPA 2016)
Minnich, Richard Wayne BA (CC 1990)
Minter, James F BA (CC 1973), MA (GSAS 1974)
Miranda-Ramirez, Elisha Maria MFA (SOA 2003)
Mirza, Usama Javed EdM (TC 2017)
Mitchneck, Beth PhD (GSAS 1990)
Mittel, Joseph BA (CC 1959), BS (SEAS 1960) ,MS (SEAS 1961)
Mlambo, S.T. BA (BC 2016)
Moccia, Patricia BS (JRN 1998)
Moerman, D. Max BA (CC 1986)
Momoni, Valerio MBA (BUS 2007)
Moneo Feduchi, Belén MArch (GSAPP 1991)
Monk, Daniel Bertrand BA (CC 1981), MArch (GSAPP 1984)
Montalbano, Kathryn A PhD (GSAS 2016), PhD (JRN 2016)
Monzo, Alejandro MBA (BUS 2006)
Moody, Harry R. PhD (GSAS 1973)
Moore, Colleen Grogan MS (GSAPP 1983)
Moorsmith (née Moorthy), Elizabeth BA (CC 1991), MIA (SIPA 2002)
Moreno Jr., Richard Frank MS (JRN 1980)

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Morera, Devon MPH (PH 2017)
Morey, Alice BA (BC 1970)
Morris, Maria Viette BA (BC 1990), MIA (SIPA 1998)
Morrison, Richard MFA (SOA 1991)
Morton, Paul BA (CC 2003)
Moshfegh, Ottessa BA (BC 2002)
Mostoller, George BA (CC 1982)
Muehlbauer, Evan BA (CC 2007)
Muirhead, Marilyn Savarese EdD (TC 2006), MIA (TC 1983)
Mullaney, Timothy Joseph MS (JRN 1987)
Mullenix, Linda Susan MPhil (GSAS 1974), PhD (GSAS 1977)
Mummery, Alexandra Brooke BA (CC 1995)
Murphy, Jarrett Thomas MSN (NRS 2022)
Mushett, Lindsay BA (BC 2012)
Mushett, Travis Michael PhD (GSAS 2016), MPhil (GSAS 2012)
Myers Atac, Margaret MS (TC 2018)
Myers, Philip C. BA (CC 1966)
Nadler, Esq., Charles H BA (CC 1962)
Nagel, Frederick MPH (PH 2014)
Nathanson, Alynn BA (BC 1967)
Nebreda-Bello, Julian Armando BA (CC 2017)
Nelson, Laura C MA (GSAS 1987)
Nelson., William. JD (LAW 1969)
Neugarten, Rachel BA (CC 2004)
Neugeboren, Jay BA (CC 1959)
Neuscheler, Philip MBA (BUS 1974)
Neustein, Mia BA (BC 2011)
Newman, Lisa A MS (JRN 1987)
Newton, Robert PhD (GSAS 2001)
Nguonly, Austin MS (PH 2022)
Nguyen, Tara MBA (BUS 2016)
Nichols, Jeffrey Norman BA (CC 1968)
Nobert, Craig BA (CC 1990)
Nolan, Nina Catubig BA (BC 1994)
Nollet, Christopher J BA (CC 1984)
Nolte, Claire Elaine PhD (GSAS 1990), MA (GSAS 1972)
Norich, Samuel BA (CC 1968)
Novick, Emily R BA (BC 1984)
Nsabimana, Maurice MIA (SIPA 2005)
O'berry, Kelly Rennick MSSW (SW 2004)
O'malley, Robert Emmet MS (JRN 1979)
O'sullivan, Patricia Ann BA (BC 1981)
O’Brien, David BA (CC 2010)
O’Loughlin, Emma PhD (GSAS 2016), MA (GSAS 2011) ,MPhil (GSAS )
O’Shea, Anthony Martin BA (CC 1987)
Obenzinger, Hilton Manfred BA (CC 1969)

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Oberman, Jonathan Hillel BA (CC 1974), MPhil (GSAS 1979)
Ojeda Vidal, Claudia MBA (BUS 2013)
Oko, Jennifer MS (JRN 1994)
Okome, Mojubaolu Olufunke PhD (GSAS 1996), MPhil (GSAS 1995)
Olive, George BA (CC 2008)
Olson, Elizabeth BA (BC 1981)
Ortiz, Karen M BA (CC 1994)
Ortiz, Victoria BA (BC 1964)
Paces, Cynthia PhD (GSAS 1998)
Paget, Daniel J. BA (CC 1964), MA (GSAS 1966)
Paget, Katherine Frome BA (BC 1967)
Paine, Tim BA (CC 2015), BS (SEAS 2015) ,MS (SEAS 2015)
Paller, Michael MFA (SOA 1994)
Pantsios, Joan Louise BA (BC 1970)
Papiasvili, David Alexander BA (CC 2008)
Parker, Scott BA (CC 1964), MA (GSAS 1967) ,PhD (GSAS 1974)
Parmett, Karen BA (CC 1990)
Patel, Justine DPT (VPS 2015)
Pearcy, Lee Theron BA (CC 1969), MA (GSAS 1971)
Pearson, Nathan MBA (BUS 1982)
Peck-Suzuki, Miyo BA (GS 2020)
Peligal, Rona PhD (GSAS 1999)
Perkins, Alexis MFA (SOA 2011)
Perko, Cheryl MArch (GSAPP 1989)
Perlmutt, Bent-Jorgen MFA (SOA 2007)
Perryman, Amira JD (LAW 2021)
Perseu, Giuliano MA (SIPA 2005)
Pesso, Lauren MSSW (SW 2010), MPA (SIPA 2010)
Peters, Thomas David PhD (GSAS 2010)
Peterson, David Leslie BA (CC 1982), MS (JRN 1984)
Petri, Andrea PhD (GSAS 2017)
Petry, Susan Jane PhD (GSAS 1974)
Pfeffer, Helen BA (BC 1987), MFA (SOA 1992)
Pfitzer, Anne Cecile BA (CC 1988)
Philipson, Daphne MBA (BUS 1974), BA (BC 1969)
Phillips, Joshua BA (CC 1991)
Piazza, Christine Marie BA (CC 2023)
Pickford-Murray, Breedeen MA (TC 2023)
Pierson, Melissa Holbrook MA (GSAS 1985)
Pike, Helen-Chantal MS (JRN 1983)
Pilowsky, July BA (CC 2012)
Pines, Alexander BA (CC 2016)
Pini, Robert C. BA (CC 1980)
Pinkowski, Jennifer MS (JRN 2001)
Pinsky, Laura BA (BC 1968)
Pirani, Sylvia J BA (BC 1980), MS (GSAPP 1986) ,MPH (PH 1986)

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Pirozzi, Stephen Francis MPA (SIPA 1993)
Pitkin, Mirja Iris BA (BC 1991)
Pittman, Sara MPH (PH 2017)
Pivnick, Susan BA (BC 1978)
Planalp, Ronnie MBA (BUS 1986)
Plax, Irene MFA (SOA 2018)
Plotz, Thomas J. BA (CC 1975)
Plunkett chappell, Johnna MS (SPS 2023)
Polen, Sarah MBA (BUS 2000), MIA (SIPA 2000)
Pollack, Noah Singer BA (CC 1996)
Popow, Michael MBA (BUS 1994)
Porter, Laura BA (CC 1986)
Poss, Jane BA (CC 2020)
Postema, Thomas MA (GSAS 1983)
Potter, Anna MPH (PH 2011)
Powers, Martha Ann MSSW (SW 1992)
Prairie, Beth BA (CC 1993)
Press, Alexander BA (CC 1989)
Prime, Rebecca BA (CC 1996)
Prins, Seth J MPH (PH 2010), PhD (GSAS 2016)
Protopapas, Alexander BA (CC 1990)
Prudden, James Nelson BA (CC 1980)
Prudden, Nina Obolensky BA (BC 1983)
Prussin, Stephanie MFA (SOA 2011)
Puga, Mariela Gladys LLM (LAW 2005)
Pumphrey, Madeline MPH (PH 2023)
Qian, Zilan BA (BC 2024)
Rabinovich, Maria BA (CC 1990)
Rabinowitz, Alana Jane BA (BC 2024)
Rabinowitz, Mikaela BA (CC 2002)
Radfar, Pedram MA (GSAS 2015)
Ramos-Zayas, Ana PhD (GSAS 1997)
Ramsey, Kate PhD (GSAS 2002)
Rana, Marina MPA (SIPA 2011)
Randazzo, Michael Andrew BA (GS 1988), MArch (GSAPP 1992)
Rao, Ashwini Kumar EdD (TC 1999)
Rashid, Hussein BA (CC 1996)
Raskin, Erika BA (BC 1980)
Rauch, Marc S. BA (CC 1969)
Reagan, John MArch (GSAPP 1982)
Reardon, Leigh MPH (PH 2012)
Reichman, Henry BA (CC 1969)
Reinhard, Rachel BA (BC 1996)
Reinmuth, Jared Dana BA (CC 1989)
Remes, Naomi BA (BC 1976)
Remole, Kelley BA (CC 2004), PhD (GSAS 2012) ,MS (SPS 2017)

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Renard, Florence LLM (LAW 2008)
Reuter, Grace BA (BC 1978)
Reuter, Thomas BA (CC 1978), BS (SEAS 1979)
Revkin, Andrew C MS (JRN 1982)
Reynolds, Drew MA (TC 2024)
Rhee, Chae young MS (GSAPP 2011), PhD (GSAPP 2018)
Ricci, Maria L BA (CC 1993)
Richardson, Seth PhD (GSAS 2002)
Ridgely, Julia BA (BC 1985), MS (JRN 1986)
Riehle, Noelani MFA (SOA 2002)
Rigney, Mark D MFA (SOA 1992)
Riley, Brien Patrick BA (CC 1986)
Rissman, Paul MBA (BUS 1991)
Ritz, Alison BA (CC 1996)
Rivkin Häsler, Amanda MS (JRN 2007)
Rizzardo, Alice PhD (GSAS 2012)
Robins, Steven Robins Lance PhD (GSAS 1995)
Robinson, Jennifer B BA (BC 1990)
Robison, Margaret BA (CC 1990)
Roche, Alex MIA (SIPA 2012)
Rochelson, Meri-Jane Rochelson and Joel BA (BC 1971), MA (TC 1973)
Rock, Christa Lee BA (CC 1998)
Rodgers, Elizabeth Kate BA (CC 1990)
Rodrigues-Kfouri, Tracy BA (BC 2011)
Rodriguez, Juana Maria MA (GSAS 1991)
Roebuck, Kristin BA (BC 2004), PhD (GSAS 2015)
Rojas, Hestia MPH (PH 2017)
Romine, David BA (CC 1986)
Rona, Gabor LLM (LAW 1996)
Rooney, Rian BA (CC 2012)
Rosario, Nelly MFA (SOA 1998)
Rose, Adam MFA (SOA 2017)
Rosen, Andrea Penkower BA (BC 1960), PhD (GSAS 1970)
Rosen, Gideon BA (CC 1984)
Rosenberg, James Bruce BA (CC 1966)
Rosenberg, Sari Beth BA (CC 1997), MA (TC 2002)
Rosenblum-Sellers, Hazel BA (CC 2019)
Rosenfeld, Anne BA (BC 1965)
Rosenshine, Allen Gilbert BA (CC 1961)
Rosenthal, Clifford Neal BA (CC 1966), MA (GSAS 1970)
Rosenthal, Frank S BA (CC 1965), MS (GSAS 1967) ,PhD (GSAS 1971)
Ross, Skye MSSW (SW 2015), MPH (PH 2015)
Roth, Katalin Eve BA (BC 1970)
Roth, Monica J BA (BC 1978)
Rotstein, Andrew David BA (CC 1973), JD (LAW 1994)
Rubin, Conrad Philip JD (LAW 1992)

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Rubinfien, Louisa BA (BC 1983)
Rudnick, Lena MFA (SOA 2014)
Rudy, Sayres PhD (GSAS 2013)
Rueda, Luis Francisco BA (CC 1983), MArch (GSAPP 1993)
Ruiz-esquide, Andrea PhD (GSAS 2000)
Russell, Juanita Walker MBA (BUS 2009)
Russell, Richard BA (CC 1987)
Saba, Joseph BA (CC 1993)
Sachs, Joel MA (GSAS 1965), PhD (GSAS 1968)
Sacks, Jared MA (GSAS 2018), PhD (GSAS 2024)
Sadat, Leila Nadya LLM (LAW 1987)
Sagner, Stan BA (CC 1988), MBA (BUS 1994)
Salanon, Deborah Horowitz BA (CC 1990)
Salem, Munier PhD (GSAS 2015)
Salus-Singh, Carolyn BS (BC 1979)
Sanborn, Keith John MA (GSAS 1975)
Sanborn, Patricia Sanborn F. PhD (GSAS 1965)
Sandberg, Larry Steven BA (CC 1979)
Santa-Wood, Beatrice MIA (SIPA 2017)
Santiago, Emely MSSW (SW 2017), MPH (PH 2017)
Sanz-Gould, Nicholas Julien BA (CC 2011)
Saona, Maria Margarita MPhil (GSAS 1993), PhD (GSAS 1998)
Sarkar, Sahotra BA (CC 1981)
Saunders, Ellen O’Brien BA (BC 1963)
Sauter, Stephanie BA (BC 1987)
Sayre, Robert Woods MA (GSAS 1966), PhD (GSAS 1972)
Scannicchio, Matthew BS (SEAS 2024)
Scarlott, Jennifer MIA (SIPA 1986)
Schaetzl, Christine MSSW (SW 2005)
Schanoes, Veronica BA (BC 1998)
Schechter, Clyde B BA (CC 1967), MA (GSAS 1969), MD (VPS 1976)
Scheffler, Kenneth J MBA (BUS 2009), MIA (SIPA 2009)
Schein, Aviva BA (CC 1990)
Schieder, Chelsea Szendi MA (GSAS 2010), PhD (GSAS 2014)
Schlitt, Martha BA (BC 1984)
Schnaidt, Patricia BA (CC 1987)
Schneider, Joseph H MBA (BUS 1977)
Schneider, Michael R JD (LAW 1983)
Schneider, Peter D BA (CC 1977), JD (LAW 1983)
Schneier, Harvey A BA (CC 1963), MD (VPS 1967)
Schnitzer, Edward JD (LAW 1997)
Schoenknecht, Marcus LLM (LAW 2011)
Schorn, Elizabeth BA (GS 2009)
Schrader, Abby M BA (CC 1987)
Schuchman, Ellie Moses MS (SW 1992)
Schuster, Elise BA (BC 2004), MPH (PH 2009)

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Schwartz, David BA (CC 1988)
Schwartz, Frederic J. BA (CC 1985), MA (GSAS 1987) ,PhD (GSAS 1994)
Schwartz, Harry BA (CC 1956)
Schwartz, Jonathan BA (CC 1997), MS (SPS 2011)
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School Abbreviations:
BC (Barnard College)
BUS (Graduate School of Business)
CC (Columbia College)
GS (School of General Studies)
GSAPP (Graduate School of Architecture, Planning and Preservation)
GSAS (Graduate School of Arts and Sciences)
JRN (Graduate School of Journalism)
LAW (School of Law)
LS (School of Library Service)
NRS (School of Nursing)
PH (Mailman School of Public Health)
PHRM (College of Pharmaceutical Sciences)
SEAS (Fu Foundation School of Engineering and Applied Science)
SIPA (School of International and Public Affairs)
SOA (School of the Arts)
SPS (School of Professional Studies)
SW (School of Social Work)
TC (Teachers College)
VPS (Vagelos College of Physicians and Surgeons)




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                                CERTIFICATE OF SERVICE
I, Jocelyn B. Jones, hereby certify that on June 9, 2025, I filed a true copy of the foregoing Brief
of Amicus Curiae Columbia Alumni for Academic Freedom through the ECF system which will
provide copies electronically to all registered counsel.

                                                             /s/ Jocelyn B. Jones
